Case 8:18-cv-02370-JSM-JSS Document 18 Filed 12/12/18 Page 1 of 2 PageID 52



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

CIERRA WATKINS,                                      CASE NO. 8:18-CV-02370-JSM-JSS

       Plaintiff,

v.

ONEMAIN FINANCIAL GROUP, LLC,

       Defendant.
                                             /

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COMES NOW, Plaintiff, CIERRA WATKINS (“Plaintiff”), by and through the

undersigned counsel, and hereby pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) notifies this Court

that Plaintiff’s cause against Defendant, ONEMAIN FINANCIAL GROUP, LLC, should be

dismissed, without prejudice, with each party to bear its own costs and attorneys’ fees.

       Respectfully submitted this December 12, 2018,

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Case 8:18-cv-02370-JSM-JSS Document 18 Filed 12/12/18 Page 2 of 2 PageID 53



                                CERTIFICATE OF SERVICE

I hereby certify that on this 12 day of December, 2018, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system, and has been served via CM/ECF System
upon:

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